      Case 1:24-cv-06589-LAK-VF       Document 28      Filed 06/27/25   Page 1 of 2



                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK

 ELIZABETH STACHOVIC, individually
 and on behalf of all others similarly situated,

                     Plaintiff,
       v.
                                                   Civil Action No. 1:24-cv-6589
 PIG NEWTON, INC.,

                     Defendant.


                     JOINT STIPULATION OF DISMISSAL

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Elizabeth

Stachovic and Defendant Pig Newtown, Inc., by counsel, jointly stipulate to the

dismissal of this action with prejudice, with each party to bear its own costs and

attorneys’ fees.

Dated: June 27, 2025

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      Case 1:24-cv-06589-LAK-VF     Document 28   Filed 06/27/25   Page 2 of 2



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